       Case 2:20-cv-01872-RFB-EJY Document 25-1 Filed 04/05/22 Page 1 of 4



1    Peter Goldstein [SBN 6992]
     PETER GOLDSTEIN LAW CORP
2    peter@petergoldsteinlaw.com
     10161 Park Run Drive, Suite 150
3    Las Vegas, Nevada 89145
     Telephone:     (702) 474-6400
4    Facsimile:     (888) 400-8799

5    Attorney for Plaintiffs
     ROCHELLE SCOTT, individually, and as co-special
6    administrator of the estate of ROY ANTHONY SCOTT;
     and FREDRICK WAID, as co-special administrator
7    of the estate of ROY ANTHONY SCOTT

8                               UNITED STATES DISTRICT COURT

9                        FOR THE DISTRICT OF NEVADA (LAS VEGAS)
10   ROCHELLE SCOTT, individually, and as co-special Case No. 2:20-cv-01872-RFB-EJY
     administrator of the estate of ROY ANTHONY
11   SCOTT; and FREDRICK WAID, as co-special
     administrator of the estate of ROY ANTHONY      APPENDIX OF EXHIBITS FILED BY
12   SCOTT,                                          PLAINTIFFS IN RESPONSE TO
                                                     DEFENDANTS’ MOTION FOR
13                                  Plaintiffs,      SUMMARY JUDGMENT [DKT. 19]
14   vs.
15   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT; KYLE SMITH, individually;
16   THEODORE HUNTSMAN, individually; and DOES
     1-10, inclusive,
17
                                Defendants.
18
     Exhibit 1   Declaration of Peter Goldstein in Support of Plaintiffs’         Pages 1-4
19               Response to Defendants’ Motion for Summary Judgment [Dkt.
                 19]
20
     Exhibit 2   Videos and Frame-by-Frame Excerpts from Bodyworn camera          Manually Filed
21
                 (BWC) footage (on a USB Flash Drive containing electronic
22               files designated by Plaintiffs as Exhibits 2-a, 2-b, 2-c, 2-d)

23               Exhibit 2-a: Excerpted Portion of Huntsman BWC Footage in        Manually Filed
                 Slow-Motion
24
                 Exhibit 2-b: Frame-by-Frame Excerpted Portion of Huntsman        Pages 1 – 42 and
25
                 BWC Footage (PDF file included on USB Flash Drive and            Manually Filed
26               also filed electronically)

27               Exhibit 2-c: Excerpted Portion of Smith BWC Footage              Manually Filed
28               Exhibit 2-d: Excerpted Portion of Smith BWC Footage in           Manually Filed
                 Slow-Motion
                                                    1
       Case 2:20-cv-01872-RFB-EJY Document 25-1 Filed 04/05/22 Page 2 of 4




1    Exhibit 3    Force Investigation Team (FIT) Report (LVMPD 000001 –           Pages 1-29
                  LVMPD 000029)
2
     Exhibit 4    Transcript of Post-Incident Interview of Officer Theodore       Pages 1-46
3                 Huntsman (LVMPD 000185 – LVMPD 000230)
4    Exhibit 5    Transcript of Post-Incident Interview of Officer Kyle Smith     Pages 1-47
                  (LVMPD 000231– LVMPD 000277)
5
     Exhibit 6    Two Screenshots from Officers’ Body-Worn Camera (BWC)           Pages 1-2
6                 Footage of Officer’s Knee on Roy Scott’s Back
7    Exhibit 7    Seven Screenshots of Officers’ Body-Worn Camera (BWC)           Pages 1-7
                  Footage with Flashlight
8
     Exhibit 8    Excerpts of LVMPD’s Responses to Plaintiffs’ Second Set of      Pages 1-4
9                 Requests for Admissions
10   Exhibit 9    Excerpts Of LVMPD’s Responses To Plaintiffs’ First Set Of       Pages 1-4
                  Requests For Production Of Documents
11
     Exhibit 10   Excerpts from Officer Theodore Huntsman’s Responses to          Pages 1-8
12                Plaintiffs’ First Set Of Requests for Admissions
13   Exhibit 11   Excerpts from Officer Theodore Huntsman’s Responses to          Pages 1-6
                  Plaintiffs’ First Set of Interrogatories
14
     Exhibit 12   Excerpts from Officer Kyle Smith’s Responses to Plaintiffs’     Pages 1-7
15                Requests for Admissions
16   Exhibit 13   Excerpts from Officer Kyle Smith’s Answers to Plaintiffs’       Pages 1-6
                  First Set of Interrogatories
17
     Exhibit 14   Defendant LVMPD’s Second Supplemental Responses to              Pages 1-12
18                Plaintiffs’ Third Set of Requests for Production of Documents
                  with Exhibit A: Office of Internal Oversight for Death of
19                Byron Lee Williams (Bates LLV190900020669)
20   Exhibit 15   Force Investigation Team (FIT) Report for Death of Byron Lee Pages 1-28
                  Williams, redacted by LVMPD
21
     Exhibit 16   Email Summary of CIRT Finding [LVMPD 000945-000946]             Pages 1-2
22
     Exhibit 17   Expert Report by Kris Sperry, MD served on 12/3/2021            Pages 1-12
23
     Exhibit 18   Declaration of Expert Kris Sperry, MD                           Pages 1
24
     Exhibit 19   Expert Report by Scott Defoe served on 12/3/2021                Pages 1-33
25
     Exhibit 20   Declaration of Expert Scott DeFoe                               Pages 1
26
     Exhibit 21   Resuscitation Journal Article dated 2-16-2022                   Pages 1-6
27
     Exhibit 22   Excerpts Of LVMPD’s Responses To Plaintiffs’ Fourth Set Of      Pages 1-3
28                Requests For Production Of Documents

                                                      2
       Case 2:20-cv-01872-RFB-EJY Document 25-1 Filed 04/05/22 Page 3 of 4




1    Exhibit 23   Excerpts from Officer Theodore Huntsman’s Responses to      Pages 1-5
                  Plaintiffs’ Second Set of Interrogatories
2
     Exhibit 24   Excerpts from Officer Kyle Smith’s Answers to Plaintiffs’   Pages 1-5
3                 Second Set of Interrogatories
4    Exhibit 25   Pleading Pages for LVMPD Defendants’ Expert Disclosures     Pages 1-6
5    Exhibit 26   Emails between Attorneys of August 20, 2021 Regarding       Pages 1-5
                  Plaintiffs’ Counsel’s Unavailability for Deposition Dates
6                 Scheduled by Defense Counsel
7

8           DATED this 5th day of April, 2022.

9                                           PETER GOLDSTEIN LAW CORP
10

11                                          /s/ Peter Goldstein
                                            PETER GOLDSTEIN [SBN 6992]
12                                          Attorney for Plaintiffs
                                            ROCHELLE SCOTT, individually, and as co-special
13                                          administrator of the estate of ROY ANTHONY SCOTT;
                                            and FREDRICK WAID, as co-special administrator
14                                          of the estate of ROY ANTHONY SCOTT
15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                     3
       Case 2:20-cv-01872-RFB-EJY Document 25-1 Filed 04/05/22 Page 4 of 4




1                                      CERTIFICATE OF SERVICE

2           I am employed in the County of Clark, State of Nevada. I am over the age of eighteen years

3    and not a party to the within action; my business address is 10161 Run Park Drive, Suite 150, Las

4    Vegas, Nevada 89145.

5           I hereby certify that on this 5th day of April, 2022, a true and correct copy of the following

6    document APPENDIX OF EXHIBITS FILED BY PLAINTIFFS IN RESPONSE TO

7    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT [DKT. 19] was served by

8    electronically filing with the Court’s CM/ECF electronic filing system to the following parties:

9           Craig R. Anderson, Esq.
            MARQUIS AURBACH COFFING
10          10001 Park Run Drive
            Las Vegas, Nevada 89145
11          Telephone:    (702) 382-0711
            Facsimile:    (702) 382-5816
12          Email: canderson@maclaw.com
                   SMong@maclaw.com
13          Attorney for Defendants
            Las Vegas Metropolitan Police Department,
14          Kyle Smith and Theodore Huntsman
15          I declare that I am employed in the office of a member of the bar of this Court at whose

16   direction the service was made.

17
                                                  By:
18                                                      An Employee of Peter Goldstein Law Corp
19

20

21

22

23

24

25

26
27

28

                                                         4
